     Case 2:22-cv-08010-DOC-KES      Document 99-2    Filed 04/14/25   Page 1 of 2 Page ID
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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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12                                                   No. 2:22-cv-08010-DOC (KESx)
      DAVID JACOBS,
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                       Plaintiff,                    Hon. David O. Carter
14                                                   United States District Judge
            v.                      strict Judge
15
                                                     Action filed: November 2, 2022
16    ERIC MICHAEL GARCETTI, et al.
                                                     [PROPOSED] ORDER
17                     Defendants.
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                                        [PROPOSED] ORDER
     Case 2:22-cv-08010-DOC-KES     Document 99-2      Filed 04/14/25   Page 2 of 2 Page ID
                                          #:833



 1          Defendants Eric Michael Garcetti, Paul Krekorian, Robert Blumenfield, Monica
 2    Rodriguez, Marqueece Harris-Dawson, John Lee, Mitch O’Farrell, Kevin De Leon, and
 3    Monique Contreras’s (collectively, “Defendants’”) Motion for Summary Judgment came
 4    on regularly for hearing before this Court on May 12, 2025.
 5          After considering the moving and opposition papers, arguments of counsel, and all
 6    other matters presented to the Court, IT IS HEREBY ORDERED that Defendants’
 7    motion is GRANTED.
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 9          IT IS SO ORDERED.
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11     DATED:
                                                     Honorable David O. Carter
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                                       [PROPOSED] ORDER
